                            Case 6:18-cr-00492-MC                               Document 14                      Filed 10/19/18                 Page 1 of 2



                                                        UNITHD STATES DISTRICT COURT
                                                         FOR THE DISTRICT OF OREGON

    UNITED STATES 01.` AMERICA                                                                                                                 ORDER SETTING COND[TloNS
                                 V.                                                                                                                          0 F R F, L H A S F,

    John Jordan                                                                                                                                     C`ase Number: 6: 18CR492-MC-I


 TT IS ORDERF,D tliat tli€ release of Lhe defendant is s`ib`iect to tlie followiiig ct]nditions.


(I)             The clefcndant shall not col`imit any offense in violalioli of t`cderal, state or local l<iw while on rclcase ln llils czlsc


(2)             The defeiidantmuslcooperate in the collection ofa DNA saniple ifthe coHectlon is aulliorizcd by 42 U S C § 14135a.


(3)             The defendant shall Immediately advise tlie cotirt through pretrlal scrvlces or det`ense counsel iiHvriting orally chatigc ln
              addi.css and telephone number.


               The clcfeTldant shall appear at all proceedings as rc(iuircd and sliall sui.I.elider fc)r servici` or any Sentence iniposed as directed
              The defendant shall next appear as directed by U.S District Court.


                                                                          Addilioiial Conditions ol` Release


          URTHFR ORDERED tliat the defeiidaiit be rclcascd prtivided tliat the defendalit:
              Repoil as d].rected by the U.S. PI.etl.ial Services Orricc.
              Find an(I niaintam g.iinful fuH-t]me employment, approved schoolnig or a full-tlme combmation of both. as dH ected and
              approved by Pretrial Services.
              Do not cliange place of residence without the priol. appr(ival ot` U.S. Pretrial Services
              Neitlier own, possess, nor coiiti.ol any rircflrm ((tr {iiiy weapoii).
              Avoid all contact with tlie following named pei.solis. Co-defendant wlth out presence of couliscl or Prclrial Sol-vices Permissioii
              The clefendant is to pay a percentagc of all fee` for services obtflincd while under Pretrial Set.vices Supei visloii
              Do not llse or unlawful]y possess a narcotlc diug ol other controlled substaiices defined in 21 U.S C. Sectioll 802, iililess
              presclibed by a licelised medical plactl.tioiier. This prc)vlsion docs not pemilt tlie use or possession of mcdical iiiai.iiuiina even
              with a physician's written certification. The d€fendanl is pi.ohibited from using or possessing ally `ynthetic iiitoxlcating
              substaiice` Including but riot limited to "Spice"` ''K-2" and other fonns of synthetic liiariiuana
              Do not use. p{)ssess, or ccmsume alcohol.
              The clefendant shall submit to testing for a pl.oh ibited c.ubstance if I.equired by the prctridl sei vices office ol. supel vising of`ficer
              Tcstlng may be used with random freq`Lenc}J aiid ma}J mclude urine testitig, the wearing of a swcal T)dtch, a rcm{)te alcohol
              testiiig system. and/or any t`orm of proliibited `substance scrct:iiing or testing. The defelidant must nt)t ohilruct. {]tteTiipt to
              obstriict, or tamper with the efflciency and acciirac.v t)r prohibited s`ibstance sci.eening or testing
              Particii)ate ln drug/alctihol assessnient and undci.go coumL`ling, to lticlude residential lrcdLiiient as directed by U S                                                PI.etrial
              Services.


                                                                         A(lvice of Penalties and Sanctions
TO THE I)EFF,NDANT:
              you ARE ADvisED oF THE FOLLowiNG pENALTiEs ^Nr> sANCTioNs:
              A violallon of all)' ol.the rol.egoing conditinlis of roll:asc ln<i}i' rcsiilt in the immcdiatc is.suancc of`ti w,inaiw                   for .voul. zu lc.st. a liwot`ii[I(tii itl
ri`Iease. an ol.dcr oI`detention. f()rfciturc of bond. and a prosec`Ilittn ror ct)ntcmpt of court aiid coiild icsult ill a term ol` Impl isolimciil` a llltc. ol. lx)lh,


              l`h.` Commission of ally crime wliile on pro-lrliil rcli`tis(` Iiiz`}' rcsiill in an tndditiomil sciileitcc to {1 terlo ol` iiiipl`Is()iinicn` ()f not ii`()re th{`I1 (en

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{o iim olhcr sentcncc.


              Federal law makes it a crime punishable by ui) to lcii yc.in a(` iii`niisoiimcnl. and a $250.000 rlnc oi 17otli lo intiTTHthtc or iiltciiii)t lo ii`l imitltite
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lm|)rls()nnil`nt a $250.Our) fiiie oi. both.1o tanipcr with a witni`ss. vlclim or ilifori"`I`t. or to rclaliatc against a witncss` vlctHm or ml`omiailt` ol+ lo Uirc{`lcn
or <iucmpt to do so


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                                   Case 6:18-cr-00492-MC                             Document 14                     Filed 10/19/18                     Page 2 of 2

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        ( I )              <iii ol`l`i`nse punishable by death. IIt`e miprl`ioimienl. tn         !I`ii)I.I`(tiimi`i`l for a lcHn or`lftci`n.years (n    iiit)I.`` }ou slitiH bi` lincd litw nittic llian
                     $250.000 ol. imr)rist)Iicd fol no in()rc than ti`n vcal`. (v               bttlh.


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                                                                                   Acknowledgment of I)cfendaiit
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                                                                                                                                                       City' S,ate & Zip

    Special Needs Finding:
    Based upon tlie above conditjons, including the condi.tiolis relatjng to`
    gE               A lcohol detection
    EE                Drug detection
    I             Computer monitoring
    TheCourtisreasonablyassuredtliedefendantwmappear€t`(llt.ectedalidiiotposcad{iiigei.to(liccouiiiiuiilty(wziiiy()lhcipci`son.


    Directiolis to the United States Marshal
    I              Tlie defendant is ORDERED released aftcrpiocessing.
    I               ThedcfendantisoRDEREDtemporarjlyi.eleased.
    E               The UIllted States Mai.shal is ORDERE[) to keel) tlie defendant ln custody untH iiotlfied by tlic clei.k. Pi.ctiial Servlces (n`
                                                                                                                         ____.__,       _`'-`'    ''`,`'`'~`'   `,J     ...`   `'`'',\,I   I,|''al   ®CIvl,es         t)I
                  :,,I;^:r,I   -ff--A_   1'__1   `,   ,   ,`       '
                 Judicial officer that the defendant has posted boiid alid/or complied wlth aH otliei. coiiditlons for release Hicliidliig space
                 avallabiljty at a community coiTectl.oiis center or rcsidential treatment faci.Hty. If still in custody, the defel`d<int shaH be

                  pioduced before the duty Magl.strate Judge on                                                                              at



Date.




                                                                                                                                      Signatui.e of Judicial Officer

                                                                                                                                        Mustafa T. Kasubhai
                                                                                                                                           U S. Magistrate Judge

                                                                                                                                  Name and TI`tle of Judicial Oflict;`i.



cc                I)e[`endant
                 lJS Attorney
                 US Mal.shal
                Pt.eti.ial Services


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